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                                                                        January 11, 2022
  VIA ECF
  Hon. Barbara Moses
  United States Magistrate Judge
  Daniel Patrick Moynihan United States Courthouse
  500 Pearl St. New York
  NY 10007-1312

                                     Re: Rosario v. Big City Management Inc. et al.
                                         Case No.: 21-cv-4336 (AJN)

  Dear Judge Moses:

                  We represent Plaintiff in this matter. The parties respectfully request that the
  Court adjourn the January 18, 2022 settlement conference until early February. The parties are
  generally available except for Friday. The reason for the request is that the parties continue to
  exchange documents and information that will help with resolution of this case. In particular,
  Defendants expect to produce the additional pay records within a week. Accordingly, the parties
  respectfully request that the Court adjourn the mediation.

                      Thank you for your attention to the above.

                                                               Respectfully Submitted,
                                                               --------------------/s/------------------
                                                               Michael Taubenfeld

Application GRANTED. The settlement conference is hereby ADJOURNED to February 8, 2022,
at 2:15 p.m. No later than February 1, 2022, the parties shall each submit their respective
confidential letters and acknowledgment forms to chambers by email, addressed to
Moses_NYSDChambers@nysd.uscourts.gov. See Oct. 27, 2021 Order Scheduling Settlement
Conference (Dkt. No. 14) ¶¶ 3, 4. SO ORDERED.


_____________________________
Barbara Moses
United States Magistrate Judge
January 11, 2022
